                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )        NO. 3:13-00069
                                             )        JUDGE CAMPBELL
WILLIAM COFFEE, JR.                          )


                                             ORDER

         Pending before the Court is a Motion to Set Change of Plea Hearing (Docket No. 86).

The Motion is GRANTED.

         The Court will hold a change of plea hearing on July 30, 2013, at 1:00 p.m. Any proposed

plea agreement shall be submitted to the Court by July 29, 2013.

         IT IS SO ORDERED.



                                                      __________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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